B1 (Official Form 1)Case
                     (04/13)   14-37373             Doc 1          Filed 10/15/14             Entered 10/15/14 14:18:11                        Desc Main
                                     UNITED STATES BANKRUPTCYDocument
                                                             COURT                            Page 1 of 43
                                                                                                                                     VOLUNTARY PETITION
              NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION
                         __________
 Name of Debtor (if individual, enter Last, First, Middle):                                    Name of Joint Debtor (Spouse) (Last, First, Middle):
Rodriguez, Refugio
 All Other Names used by the Debtor in the last 8 years                                        All Other Names used by the Joint Debtor in the last 8 years
 (include married, maiden, and trade names):                                                   (include married, maiden, and trade names):


 Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN                 Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN
 (if more than one, state all): 4629                                                           (if more than one, state all):

 Street Address of Debtor (No. and Street, City, and State):                                   Street Address of Joint Debtor (No. and Street, City, and State):
6100 West 63rd Place
Chicago, Illinois
                                                         ZIP CODE                  60638                                                          ZIP CODE
 County of Residence or of the Principal Place of Business:                                    County of Residence or of the Principal Place of Business:
COOK
 Mailing Address of Debtor (if different from street address):                                 Mailing Address of Joint Debtor (if different from street address):



                                                           ZIP CODE                                                                                 ZIP CODE
 Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                    ZIP CODE
                           Type of Debtor                                       Nature of Business                           Chapter of Bankruptcy Code Under Which
                       (Form of Organization)                       (Check one box.)                                            the Petition is Filed (Check one box.)
                          (Check one box.)
                                                                          Health Care Business                         X     Chapter 7                  Chapter 15 Petition for
  X     Individual (includes Joint Debtors)                               Single Asset Real Estate as defined in             Chapter 9                  Recognition of a Foreign
        See Exhibit D on page 2 of this form.                             11 U.S.C. § 101(51B)                               Chapter 11                 Main Proceeding
        Corporation (includes LLC and LLP)                                Railroad                                           Chapter 12                 Chapter 15 Petition for
        Partnership                                                       Stockbroker                                        Chapter 13                 Recognition of a Foreign
        Other (If debtor is not one of the above entities, check          Commodity Broker                                                              Nonmain Proceeding
        this box and state type of entity below.)                         Clearing Bank
                                                                          Other
                        Chapter 15 Debtors                                      Tax-Exempt Entity                                            Nature of Debts
 Country of debtor’s center of main interests:                               (Check box, if applicable.)                                     (Check one box.)
                                                                                                                       X   Debts are primarily consumer            Debts are
                                                                          Debtor is a tax-exempt organization              debts, defined in 11 U.S.C.             primarily
 Each country in which a foreign proceeding by, regarding, or             under title 26 of the United States              § 101(8) as “incurred by an             business debts.
 against debtor is pending:                                               Code (the Internal Revenue Code).                individual primarily for a
                                                                                                                           personal, family, or
                                                                                                                           household purpose.”
                                Filing Fee (Check one box.)                                                                    Chapter 11 Debtors
                                                                                               Check one box:
  X     Full Filing Fee attached.                                                                  Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                   Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
        Filing Fee to be paid in installments (applicable to individuals only). Must attach
        signed application for the court’s consideration certifying that the debtor is         Check if:
        unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.              Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                                                   insiders or affiliates) are less than $2,490,925 (amount subject to adjustment
        Filing Fee waiver requested (applicable to chapter 7 individuals only). Must               on 4/01/16 and every three years thereafter).
        attach signed application for the court’s consideration. See Official Form 3B.         -----------------------------------
                                                                                               Check all applicable boxes:
                                                                                                   A plan is being filed with this petition.
                                                                                                   Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                   of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                         THIS SPACE IS FOR
                                                                                                                                                                COURT USE ONLY
           Debtor estimates that funds will be available for distribution to unsecured creditors.
  X        Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
           distribution to unsecured creditors.
 Estimated Number of Creditors
  X

 1-49          50-99          100-199           200-999    1,000-         5,001-          10,001-          25,001-           50,001-          Over
                                                           5,000          10,000          25,000           50,000            100,000          100,000

 Estimated Assets
  X

 $0 to         $50,001 to     $100,001 to       $500,001   $1,000,001     $10,000,001     $50,000,001      $100,000,001      $500,000,001     More than
 $50,000       $100,000       $500,000          to $1      to $10         to $50          to $100          to $500           to $1 billion    $1 billion
                                                million    million        million         million          million
 Estimated Liabilities
  X

 $0 to         $50,001 to     $100,001 to       $500,001   $1,000,001     $10,000,001     $50,000,001      $100,000,001      $500,000,001     More than
 $50,000       $100,000       $500,000          to $1      to $10         to $50          to $100          to $500           to $1 billion    $1 billion
                                                million    million        million         million          million
B1 (Official Form 1)Case
                     (04/13) 14-37373           Doc 1 Filed 10/15/14 Entered 10/15/14 14:18:11 Desc Main
 Voluntary Petition                                          Document                Page
                                                                                       Name of2    of 43Rodriguez, Refugio
                                                                                                Debtor(s):
 (This page must be completed and filed in every case.)
 All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
 Location                                                                              Case Number:                             Date Filed:
 Where Filed: NONE
 Location                                                                              Case Number:                             Date Filed:
 Where Filed:
 Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet.)
 Name of Debtor:                                                                       Case Number:                             Date Filed:
                        NONE
 District:                                                                                      Relationship:                                    Judge:



                                         Exhibit A                                                                                  Exhibit B
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                                (To be completed if debtor is an individual
 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)                                    whose debts are primarily consumer debts.)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)
                                                                                                I, the attorney for the petitioner named in the foregoing petition, declare that I have
                                                                                                informed the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13
                                                                                                of title 11, United States Code, and have explained the relief available under each
                                                                                                such chapter. I further certify that I have delivered to the debtor the notice required
                                                                                                by 11 U.S.C. § 342(b).
        Exhibit A is attached and made a part of this petition.
                                                                                                X      s/Manuel. A Cardenas                    October 14, 2014
                                                                                                    Signature of Attorney for Debtor(s)       (Date)
                                                                                                    Bar No.: 6228970

                                                                                      Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

        Yes, and Exhibit C is attached and made a part of this petition.

  X     No.


                                                                                      Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

  X    Exhibit D, completed and signed by the debtor, is attached and made a part of this petition.

 If this is a joint petition:

        Exhibit D, also completed and signed by the joint debtor, is attached and made a part of this petition.



                                                                      Information Regarding the Debtor - Venue
                                                                                (Check any applicable box.)
               X       Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                       preceding the date of this petition or for a longer part of such 180 days than in any other District.

                       There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.

                       Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has
                       no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in this
                       District, or the interests of the parties will be served in regard to the relief sought in this District.


                                                   Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                           (Check all applicable boxes.)

                          Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                (Name of landlord that obtained judgment)



                                                                                                (Address of landlord)

                          Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                          entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

                          Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period after the filing
                          of the petition.

                          Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
B1 (Official Form 1)Case
                     (04/13) 14-37373           Doc        1     Filed 10/15/14 Entered 10/15/14 14:18:11 Desc Main                                                          Page 3
 Voluntary Petition                                                Document     Page
                                                                                Name of 3 of 43 Rodriguez, Refugio
                                                                                        Debtor(s):
 (This page must be completed and filed in every case.)
                                                                                     Signatures
                     Signature(s) of Debtor(s) (Individual/Joint)                                                    Signature of a Foreign Representative

 I declare under penalty of perjury that the information provided in this petition is true   I declare under penalty of perjury that the information provided in this petition is true
 and correct.                                                                                and correct, that I am the foreign representative of a debtor in a foreign proceeding,
 [If petitioner is an individual whose debts are primarily consumer debts and has            and that I am authorized to file this petition.
 chosen to file under chapter 7] I am aware that I may proceed under chapter 7, 11, 12
 or 13 of title 11, United States Code, understand the relief available under each such      (Check only one box.)
 chapter, and choose to proceed under chapter 7.
                                                                                                  I request relief in accordance with chapter 15 of title 11, United States Code.
 [If no attorney represents me and no bankruptcy petition preparer signs the petition] I          Certified copies of the documents required by 11 U.S.C. § 1515 are attached.
 have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                                  Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
 I request relief in accordance with the chapter of title 11, United States Code,                 chapter of title 11 specified in this petition. A certified copy of the
 specified in this petition.                                                                       order granting recognition of the foreign main proceeding is attached.

 X    s/Refugio Rodriguez                                                                    X
      Signature of Debtor                 Refugio Rodriguez                                       (Signature of Foreign Representative)

 X
      Signature of Joint Debtor                                                                   (Printed Name of Foreign Representative)

      Telephone Number (if not represented by attorney)
      October 14, 2014                                                                            Date
      Date
                                  Signature of Attorney*                                                 Signature of Non-Attorney Bankruptcy Petition Preparer

 X    s/Manuel. A Cardenas                                                                   I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as
      Signature of Attorney for Debtor(s)                                                    defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and have
      Manuel A. Cardenas                                                                     provided the debtor with a copy of this document and the notices and information
      Printed Name of Attorney for Debtor(s)                                                 required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules or
      Law Offices Of Manuel A. Cardenas and Associates                                       guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum
      Firm Name                                                                              fee for services chargeable by bankruptcy petition preparers, I have given the debtor
                                                                                             notice of the maximum amount before preparing any document for filing for a debtor
      2057 North Western Avenue                                                              or accepting any fee from the debtor, as required in that section. Official Form 19 is
      Chicago, Illinois 60647                                                                attached.
      Address
      (773) 227-6858
      Telephone Number                                                                            Printed Name and title, if any, of Bankruptcy Petition Preparer
      October 14, 2014
      Date
      Bar No.: 6228970                                                                            Social-Security number (If the bankruptcy petition preparer is not an individual,
      Fax: (773) 227-6088                                                                         state the Social-Security number of the officer, principal, responsible person or
                                                                                                  partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
      E-mail: mac.cardenaslaw@att.net
 *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
 certification that the attorney has no knowledge after an inquiry that the information
 in the schedules is incorrect.
                                                                                                  Address
                   Signature of Debtor (Corporation/Partnership)

 I declare under penalty of perjury that the information provided in this petition is true   X
 and correct, and that I have been authorized to file this petition on behalf of the              Signature
 debtor.

 The debtor requests the relief in accordance with the chapter of title 11, United States         Date
 Code, specified in this petition.
                                                                                             Signature of bankruptcy petition preparer or officer, principal, responsible person, or
 X                                                                                           partner whose Social-Security number is provided above.
      Signature of Authorized Individual
                                                                                             Names and Social-Security numbers of all other individuals who prepared or assisted
      Printed Name of Authorized Individual                                                  in preparing this document unless the bankruptcy petition preparer is not an
                                                                                             individual.
      Title of Authorized Individual
                                                                                             If more than one person prepared this document, attach additional sheets conforming
      Date
                                                                                             to the appropriate official form for each person.

                                                                                             A bankruptcy petition preparer’s failure to comply with the provisions of title 11 and
                                                                                             the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or
                                                                                             both. 11 U.S.C. § 110; 18 U.S.C. § 156.
               Case 14-37373
B 201B (Form 201B) (12/09)
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                                UNITED STATES BANKRUPTCY COURT
                                         NORTHERN DISTRICT OF ILLINOIS
                                ________________________________________
                                                            EASTERN DIVISION


In re
        Refugio Rodriguez
        ___________________________________                                         Case No. _______________
                   Debtor
                                                                                    Chapter ________________
                                                                                            7



                             CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                 UNDER § 342(b) OF THE BANKRUPTCY CODE


                                  Certification of [Non-Attorney] Bankruptcy Petition Preparer
         I, the [non-attorney] bankruptcy petition preparer signing the debtor’s petition, hereby certify that I delivered to the debtor the
attached notice, as required by § 342(b) of the Bankruptcy Code.

_____________________________________________                                       _______________________________________
Printed name and title, if any, of Bankruptcy Petition Preparer                     Social Security number (If the bankruptcy petition
Address:                                                                            preparer is not an individual, state the Social Security
                                                                                    number of the officer, principal, responsible person, or
                                                                                    partner of the bankruptcy petition preparer.) (Required
X_______________________________________________                                    by 11 U.S.C. § 110.)

Signature of Bankruptcy Petition Preparer or officer,
principal, responsible person, or partner whose Social
Security number is provided above.



                                                         Certification of the Debtor
         I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
Code.



Refugio Rodriguez
_________________________________________                                   s/Refugio Rodriguez          October 14, 2014
                                                                          X______________________________________________
Printed Name(s) of Debtor(s)                                              Signature of Debtor                  Date

Case No. (if known) ________________________                                s/                               October 14, 2014
                                                                          X______________________________________________
                                                                          Signature of Joint Debtor (if any)      Date


___________________________________________________________________________________________________

Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has
NOT been made on the Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the
debtor’s attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy
petition preparers on page 3 of Form B1 also include this certification.
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B 1D (Official Form 1, Exhibit D) (12/09)




                             UNITED STATES BANKRUPTCY COURT
                                                NORTHERN DISTRICT OF ILLINOIS
                                                     EASTERN DIVISION

In re Refugio Rodriguez                                                   Case No.
                                       Debtor

            EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                            CREDIT COUNSELING REQUIREMENT

Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the
court can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid,
and your creditors will be able to resume collection activities against you. If your case is dismissed
and you file another bankruptcy case later, you may be required to pay a second filing fee and you
may have to take extra steps to stop creditors’ collection activities.

        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must
complete and file a separate Exhibit D. Check one of the five statements below and attach any documents
as directed.

         1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a
credit counseling agency approved by the United States trustee or bankruptcy administrator that outlined
the opportunities for available credit counseling and assisted me in performing a related budget analysis,
and I have a certificate from the agency describing the services provided to me. Attach a copy of the
certificate and a copy of any debt repayment plan developed through the agency.

         2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a
credit counseling agency approved by the United States trustee or bankruptcy administrator that outlined
the opportunities for available credit counseling and assisted me in performing a related budget analysis,
but I do not have a certificate from the agency describing the services provided to me. You must file a
copy of a certificate from the agency describing the services provided to you and a copy of any debt
repayment plan developed through the agency no later than 15 days after your bankruptcy case is filed.
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                                                   Document     Page 6 of 43
B 1D (Official Form 1, Exh. D) (12/09) – Cont.



         3. I certify that I requested credit counseling services from an approved agency but was unable
to obtain the services during the five days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy
case now.

If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from
the agency that provided the counseling, together with a copy of any debt management plan
developed through the agency. Failure to fulfill these requirements may result in dismissal of your
case. Any extension of the 30-day deadline can be granted only for cause and is limited to a
maximum of 15 days. Your case may also be dismissed if the court is not satisfied with your reasons
for filing your bankruptcy case without first receiving a credit counseling briefing.

            4. I am not required to receive a credit counseling briefing because of:

                   Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness
          or mental deficiency so as to be incapable of realizing and making rational decisions with respect
          to financial responsibilities.);
                   Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of
          being unable, after reasonable effort, to participate in a credit counseling briefing in person, by
          telephone, or through the Internet.);
                   Active military duty in a military combat zone.

         5. The United States trustee or bankruptcy administrator has determined that the credit
counseling requirement of 11 U.S.C. ' 109(h) does not apply in this district.

          I certify under penalty of perjury that the information provided above is true and correct.


Signature of Debtor: s/Refugio Rodriguez

Date: October 14, 2014




                                                              2
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B 6 Summary (Official Form 6 - Summary) (12/13)



                                       UNITED STATES BANKRUPTCY COURT
                                          __________
                                            NORTHERN DISTRICT OF ILLINOIS
                                                              EASTERN DIVISION

In re                                                                                     Case No. ___________________
        Refugio Rodriguez
        ________________________________________,
                                                                                                  7
                                                                                          Chapter ____________
                   Debtor

                                                    SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I,
and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all
claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors also must complete the “Statistical
Summary of Certain Liabilities and Related Data” if they file a case under chapter 7, 11, or 13.

                                                  ATTACHED
 NAME OF SCHEDULE                                  (YES/NO)      NO. OF SHEETS             ASSETS               LIABILITIES              OTHER

 A - Real Property
                                                    YES                  1            $      75,000.00

 B - Personal Property
                                                    YES                  3            $       7,110.00

 C - Property Claimed
                                                    YES                  1
     as Exempt

 D - Creditors Holding
                                                    YES                  1                                  $       186,000.00
     Secured Claims

 E - Creditors Holding Unsecured                                                                            $                0.00
     Priority Claims                                YES                  3
     (Total of Claims on Schedule E)

 F - Creditors Holding Unsecured                                                                            $         11,904.52
     Nonpriority Claims                             YES                  5

 G - Executory Contracts and
     Unexpired Leases                               YES                  1

 H - Codebtors
                                                    YES                  1

 I - Current Income of
                                                    YES                  2                                                          $        3,799.25
     Individual Debtor(s)

 J - Current Expenditures of Individual
                                                    YES                  4                                                          $        5,412.79
     Debtors(s)

                                          TOTAL                                       $      82,110.00      $       197,904.52
                                                                        22
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                                                      Document     Page 8 of 43
B 6 Summary (Official Form 6 - Summary) (12/13)


                                   UNITED STATES BANKRUPTCY COURT
                                      _________________________________
                                            NORTHERN DISTRICT OF ILLINOIS
                                                               EASTERN DIVISION

In re                                                                                   Case No. ___________________
        Refugio Rodriguez
        _______________________________________,                                                7
                                                                                        Chapter ____________
                   Debtor


    STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§ 101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

            Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
information here.

This information is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types of liabilities, as reported in the Schedules, and total them.



 Type of Liability                                                    Amount

 Domestic Support Obligations (from Schedule E)                       $            0.00
 Taxes and Certain Other Debts Owed to Governmental Units             $            0.00
 (from Schedule E)

 Claims for Death or Personal Injury While Debtor Was                 $            0.00
 Intoxicated (from Schedule E) (whether disputed or undisputed)

 Student Loan Obligations (from Schedule F)                           $            0.00
 Domestic Support, Separation Agreement, and Divorce Decree           $
 Obligations Not Reported on Schedule E

 Obligations to Pension or Profit-Sharing, and Other Similar          $            0.00
 Obligations (from Schedule F)

                                                           TOTAL      $            0.00

State the following:
 Average Income (from Schedule I, Line 12)                            $       3,799.25

 Average Expenses (from Schedule J, Line 22)                          $       5,412.79
 Current Monthly Income (from Form 22A Line 12; OR, Form              $       5,174.00
 22B Line 11; OR, Form 22C Line 20 )

State the following:
  1. Total from Schedule D, “UNSECURED PORTION, IF                                        $      111,000.00
  ANY” column

  2. Total from Schedule E, “AMOUNT ENTITLED TO                       $            0.00
  PRIORITY” column.

  3. Total from Schedule E, “AMOUNT NOT ENTITLED TO                                       $              0.00
  PRIORITY, IF ANY” column

  4. Total from Schedule F                                                                $       11,904.52

  5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                            $      122,904.52
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                                                    Document     Page 9 of 43
B6A (Official Form 6A) (12/07)

In re Refugio Rodriguez,                                                                                    Case No.
                                                   Debtor                                                                           (If known)


                                        SCHEDULE A - REAL PROPERTY
     Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property
owned as a cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and
powers exercisable for the debtor’s own benefit. If the debtor is married, state whether the husband, wife, both, or the marital community
own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no
interest in real property, write “None” under “Description and Location of Property.”

    Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory
Contracts and Unexpired Leases.

     If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no
entity claims to hold a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

     If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C
– Property Claimed as Exempt.




                                                                                            Husband, Wife, Joint,
                                                                                                                      CURRENT VALUE




                                                                                               or Community
                                                                                                                        OF DEBTOR’S
                  DESCRIPTION AND                                                                                       INTEREST IN       AMOUNT OF
                                                              NATURE OF DEBTOR’S
                    LOCATION OF                                                                                     PROPERTY, WITHOUT      SECURED
                                                             INTEREST IN PROPERTY
                     PROPERTY                                                                                         DEDUCTING ANY         CLAIM
                                                                                                                      SECURED CLAIM
                                                                                                                       OR EXEMPTION




 Primary Residence - Single Family Home
                                                            Fee Simple Ownership                                            $75,000.00           $186,000.00
 6100 West 63rd Place, Chicago, Illinois 60638




                                                                                          Total ►                            $75,000.00


                                                            (Report also on Summary of Schedules.)
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B 6B (Official Form 6B) (12/2007)

In re Refugio Rodriguez,                                                                                      Case No.
                                                         Debtor                                                                             (If known)


                                      SCHEDULE B - PERSONAL PROPERTY
             Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories,
place an “x” in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether the husband, wife, both, or the marital community
own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

         Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.

If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.” If the property
is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John
Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).




                                                                                                                 Joint, Or Community
                                                                                                                                         CURRENT VALUE OF




                                                                                                                    Husband, Wife,
                                                 N                                                                                     DEBTOR’S INTEREST IN
                                                 O               DESCRIPTION AND LOCATION                                               PROPERTY, WITHOUT
          TYPE OF PROPERTY
                                                 N                     OF PROPERTY                                                        DEDUCTING ANY
                                                 E                                                                                        SECURED CLAIM
                                                                                                                                           OR EXEMPTION


 1. Cash on hand.                                       cash on hand                                                                                      $10.00


 2. Checking, savings or other financial                 Banking account average                                                                         $500.00
 accounts, certificates of deposit or shares
 in banks, savings and loan, thrift,
 building and loan, and homestead
 associations, or credit unions, brokerage
 houses, or cooperatives.


 3. Security deposits with public utilities,
 telephone companies, landlords, and             X
 others.

 4. Household goods and furnishings,                     Household Furniture                                                                             $700.00
 including audio, video, and computer
 equipment.


 5. Books; pictures and other art objects;
 antiques; stamp, coin, record, tape,
                                                 X
 compact disc, and other collections or
 collectibles.

 6. Wearing apparel.                                     necessary clothing                                                                              $600.00



 7. Furs and jewelry.                            X

 8. Firearms and sports, photographic,
                                                 X
 and other hobby equipment.

 9. Interests in insurance policies. Name
 insurance company of each
                                                 X
 policy and itemize surrender or
 refund value of each.
           Case 14-37373                    Doc 1   Filed 10/15/14 Entered 10/15/14 14:18:11                      Desc Main
                                                     Document     Page 11 of 43
B 6B (Official Form 6B) (12/2007)

In re Refugio Rodriguez,                                                            Case No.
                                                    Debtor                                                        (If known)


                                      SCHEDULE B - PERSONAL PROPERTY
                                                             (Continuation Sheet)




                                                                                       Joint, Or Community
                                                                                                               CURRENT VALUE OF




                                                                                          Husband, Wife,
                                                N                                                            DEBTOR’S INTEREST IN
                                                O       DESCRIPTION AND LOCATION                              PROPERTY, WITHOUT
          TYPE OF PROPERTY
                                                N             OF PROPERTY                                       DEDUCTING ANY
                                                E                                                               SECURED CLAIM
                                                                                                                 OR EXEMPTION



 10. Annuities. Itemize and name each
                                                X
 issuer.

 11. Interests in an education IRA as
 defined in 26 U.S.C. § 530(b)(1) or under
 a qualified State tuition plan as defined in
                                                X
 26 U.S.C. § 529(b)(1). Give particulars.
 (File separately the record(s) of any such
 interest(s). 11 U.S.C. § 521(c).)

 12. Interests in IRA, ERISA, Keogh, or
 other pension or profit sharing plans.         X
 Give particulars.

 13. Stock and interests in incorporated
                                                X
 and unincorporated businesses. Itemize.

 14. Interests in partnerships or joint
                                                X
 ventures. Itemize.

 15. Government and corporate bonds and
 other negotiable and nonnegotiable             X
 instruments.

 16. Accounts receivable.                       X

 17. Alimony, maintenance, support, and
 property settlements to which the debtor       X
 is or may be entitled. Give particulars.

 18. Other liquidated debts owed to debtor
                                                X
 including tax refunds. Give particulars.

 19. Equitable or future interests, life
 estates, and rights or powers exercisable
 for the benefit of the debtor other than       X
 those listed in Schedule A – Real
 Property.

 20. Contingent and noncontingent
 interests in estate of a decedent, death
                                                X
 benefit plan, life insurance policy, or
 trust.

 21. Other contingent and unliquidated
 claims of every nature, including tax
 refunds, counterclaims of the debtor, and      X
 rights to setoff claims. Give estimated
 value of each.

 22. Patents, copyrights, and other
                                                X
 intellectual property. Give particulars.
           Case 14-37373                   Doc 1    Filed 10/15/14 Entered 10/15/14 14:18:11                                     Desc Main
                                                     Document     Page 12 of 43
B 6B (Official Form 6B) (12/2007)

In re Refugio Rodriguez,                                                                           Case No.
                                                     Debtor                                                                      (If known)


                                       SCHEDULE B - PERSONAL PROPERTY
                                                                  (Continuation Sheet)




                                                                                                      Joint, Or Community
                                                                                                                              CURRENT VALUE OF




                                                                                                         Husband, Wife,
                                              N                                                                             DEBTOR’S INTEREST IN
                                              O             DESCRIPTION AND LOCATION                                         PROPERTY, WITHOUT
          TYPE OF PROPERTY
                                              N                   OF PROPERTY                                                  DEDUCTING ANY
                                              E                                                                                SECURED CLAIM
                                                                                                                                OR EXEMPTION



 23. Licenses, franchises, and other
                                              X
 general intangibles. Give particulars.

 24. Customer lists or other compilations
 containing personally identifiable
 information (as defined in 11 U.S.C. §
 101(41A)) provided to the debtor by
                                              X
 individuals in connection with obtaining
 a product or service from the debtor
 primarily for personal, family, or
 household purposes.

 25. Automobiles, trucks, trailers, and              05 GMC Jimmy                                                                             $4,500.00
 other vehicles and accessories.


                                                     97 Mazda 626                                                                              $800.00



 26. Boats, motors, and accessories.          X

 27. Aircraft and accessories.                X

 28. Office equipment, furnishings, and
                                              X
 supplies.

 29. Machinery, fixtures, equipment, and
                                              X
 supplies used in business.

 30. Inventory.                               X

 31. Animals.                                 X

 32. Crops - growing or harvested. Give
                                              X
 particulars.

 33. Farming equipment and implements.        X

 34. Farm supplies, chemicals, and feed.      X

 35. Other personal property of any kind
                                              X
 not already listed. Itemize.


                                              2 continuation sheets attached         Total ►                                                  $7,110.00
                                                         (Include amounts from any continuation
                                                           sheets attached. Report total also on
                                                                 Summary of Schedules.)
          Case 14-37373            Doc 1        Filed 10/15/14 Entered 10/15/14 14:18:11                           Desc Main
                                                 Document     Page 13 of 43
B6C (Official Form 6C) (04/13)

In re Refugio Rodriguez,                                                                      Case No.
                                       Debtor                                                                        (If known)


                      SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
Debtor claims the exemptions to which debtor is entitled under:            Check if debtor claims a homestead exemption that exceeds
(Check one box)                                                             $155,675.*
 11 U.S.C. § 522(b)(2)
 11 U.S.C. § 522(b)(3)

                                                                                                                        CURRENT
                                                                      SPECIFY LAW                VALUE OF
                                                                                                                   VALUE OF PROPERTY
                 DESCRIPTION OF PROPERTY                            PROVIDING EACH               CLAIMED
                                                                                                                   WITHOUT DEDUCTING
                                                                       EXEMPTION                EXEMPTION
                                                                                                                       EXEMPTION
 cash on hand                                                     735 ILCS 5/12-1001(b)                   $10.00                      $10.00


 Banking account average                                          735 ILCS 5/12-1001(b)                  $500.00                   $500.00


 Household Furniture                                              735 ILCS 5/12-1001(b)                  $700.00                   $700.00


 necessary clothing                                               735 ILCS 5/12-
                                                                                                         $600.00                   $600.00
                                                                  1001(a),(e)


 05 GMC Jimmy                                                     735 ILCS 5/12-1001(c)               $2,400.00                   $4,500.00




* Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.
 B 6D (Official Form
                Case 6D) 14-37373
                         (12/07)              Doc 1                 Filed 10/15/14 Entered 10/15/14 14:18:11                                                Desc Main
                                                                     Document     Page 14 of 43
In re ____________________________________,
      Refugio Rodriguez                                                                                         Case No. __________________________________
                               Debtor                                                                                                  (If known)
                              SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
            State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by
 property of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful
 to the trustee and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests such as
 judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other security interests.
            List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the name and
 address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112
 and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.
            If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the
 entity on the appropriate schedule of creditors, and complete Schedule H – Codebtors. If a joint petition is filed, state whether the husband, wife,
 both of them, or the marital community may be liable on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife,
 Joint, or Community.”
            If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column
 labeled “Unliquidated.” If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of
 these three columns.)
            Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes
 labeled “Total(s)” on the last sheet of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting Value
 of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report the total from the column
 labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain Liabilities and Related Data.

           □         Check this box if debtor has no creditors holding secured claims to report on this Schedule D.

                                                                     DATE CLAIM WAS
                                                   HUSBAND, WIFE,




                                                                                                            UNLIQUIDATED
                                                                                               CONTINGENT
                                                    COMMUNITY




                                                                       INCURRED,
                                        CODEBTOR




  CREDITOR’S NAME AND
                                                     JOINT, OR




                                                                                                                           DISPUTED
     MAILING ADDRESS                                                                                                                    AMOUNT OF CLAIM
                                                                     NATURE OF LIEN ,                                                                                  UNSECURED
 INCLUDING ZIP CODE AND                                                    AND                                                              WITHOUT
                                                                                                                                        DEDUCTING VALUE                PORTION, IF
   AN ACCOUNT NUMBER                                                   DESCRIPTION
                                                                                                                                         OF COLLATERAL                    ANY
    (See Instructions Above.)                                         AND VALUE OF
                                                                        PROPERTY
                                                                     SUBJECT TO LIEN
 ACCOUNT NO. 0789
Bank of America                                                     First Mortgage
1800 Tapo Canyon Rd
Simi Valley , CA 93063                                              6100 West 63rd
                                                                    Place, Chicago,                                                               $186,000.00              $111,000.00
                                                                    Illinois 60638

                                                                    VALUE $       $75,000.00




 ____
   0 continuation sheets                                             Subtotal ►                                                        $            186,000.00 $             111,000.00
      attached                                                       (Total of this page)
                                                                     Total ►                                                           $            186,000.00 $             111,000.00
                                                                     (Use only on last page)
                                                                                                                                      (Report also on Summary of   (If applicable, report also on
                                                                                                                                      Schedules.)                  Statistical Summary of Certain
                                                                                                                                                                   Liabilities and Related Data.)
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                                                       Document     Page 15 of 43
B6E (Official Form 6E) (04/13)

         In re
                 Refugio Rodriguez                                                      ,               Case No.
                           Debtor                                                                                            (if known)


          SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

    A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address,
including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the property of the
debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with the type of priority.

    The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the
debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

    If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the
entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife,
both of them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife,
Joint, or Community." If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the
column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more
than one of these three columns.)

    Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule
E in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

    Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts
entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with
primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

    Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all
amounts not entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors
with primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

     Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)

    Domestic Support Obligations

    Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
11 U.S.C. § 507(a)(1).

    Extensions of credit in an involuntary case

  Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

    Wages, salaries, and commissions

  Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).
    Contributions to employee benefit plans

  Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).


 * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
              Case 14-37373               Doc 1      Filed 10/15/14 Entered 10/15/14 14:18:11                              Desc Main
                                                      Document     Page 16 of 43
B 6E (Official Form 6E) (04/13) – Cont.



   In re
           Refugio Rodriguez                                                    ,               Case No.
                     Debtor                                                                                         (if known)




    Certain farmers and fishermen

  Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


    Deposits by individuals

  Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
that were not delivered or provided. 11 U.S.C. § 507(a)(7).


X Taxes and Certain Other Debts Owed to Governmental Units

  Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).


    Commitments to Maintain the Capital of an Insured Depository Institution

  Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
§ 507 (a)(9).


    Claims for Death or Personal Injury While Debtor Was Intoxicated

  Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a
drug, or another substance. 11 U.S.C. § 507(a)(10).




* Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.




                                                            1 continuation sheets attached
                                                           ____
               Case 14-37373                             Doc 1                              Filed 10/15/14 Entered 10/15/14 14:18:11                                                                                                          Desc Main
B 6E (Official Form 6E) (04/13) – Cont.
                                                                                             Document     Page 17 of 43

      Refugio Rodriguez
In re __________________________________________,                                                                                      Case No. _________________________________
                   Debtor                                                                                                                                (if known)


   SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                               (Continuation Sheet)

                  Taxes and Certain Other Debts Owed to Governmental Units Type of Priority for Claims Listed on This Sheet

                                                                                                                                                                                                      -




                                                                                                                                                               UNLIQUIDATED
       CREDITOR’S NAME,                                                                             DATE CLAIM WAS                                                                                             AMOUNT                      AMOUNT                   AMOUNT




                                                                                                                                       CONTINGENT
                                                                        HUSBAND, WIFE,

                                                                         COMMUNITY
        MAILING ADDRESS                                                                              INCURRED AND                                                                                                OF                        ENTITLED                    NOT

                                                                          JOINT, OR




                                                                                                                                                                                         DISPUTED
      INCLUDING ZIP CODE,                                                                           CONSIDERATION                                                                                               CLAIM                         TO                    ENTITLED
                                                      CODEBTOR


     AND ACCOUNT NUMBER                                                                                FOR CLAIM                                                                                                                           PRIORITY                     TO
       (See instructions above.)                                                                                                                                                                                                                                   PRIORITY, IF
                                                                                                                                                                                                                                                                       ANY
                                           ————————
                                                             ————————


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                                                                                                                                                                                                                                                        ————————
 Account No.
———————————————
Illinois Department of
Revenue
                                                                                                                                                                                                               for notice                  for notice                 $0.00
Bankruptcy Unit, 100 West                                                                    State Taxes
Randolph St #7-400
Chicago, IL 60601
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 Account No.
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IRS
                                                                                                                                                                                                               for notice                  for notice                 $0.00
P O Box 7346                                                                                 Federal Taxes
Philadelphia, PA 19101

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            1 of ___
 Sheet no. ___     1 continuation sheets attached to Schedule                                                                       Subtotals'                                                             $          0.00 $                      0.00                    $0.00
 of Creditors Holding Priority Claims                                                                                      (Totals of this page)

                                                                                                                                        Total'                                                             $          0.00
                                                                                                    (Use only on last page of the completed
                                                                                                    Schedule E. Report also on the Summary
                                                                                                    of Schedules.)

                                                                                                                                        Totals'                                                                                        $          0.00 $                   0.00
                                                                                                    (Use only on last page of the completed
                                                                                                    Schedule E. If applicable, report also on
                                                                                                    the Statistical Summary of Certain
                                                                                                    Liabilities and Related Data.)
B 6F (Official FormCase     14-37373
                   6F) (12/07)                          Doc 1                        Filed 10/15/14 Entered 10/15/14 14:18:11                                                                                                 Desc Main
                                                                                      Document     Page 18 of 43
      Refugio Rodriguez
In re __________________________________________,                                                                               Case No. _________________________________
                        Debtor                                                                                                                       (if known)

        SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
    State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against
the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed.
R. Bankr. P. 1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.

   If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the
appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital
community may be liable on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”

     If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.”
If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)

    Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the
Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities
and Related Data..

    G Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.
                                                                            HUSBAND, WIFE,

                                                                             COMMUNITY




      CREDITOR’S NAME,                                                                                      DATE CLAIM WAS                                                                                                    AMOUNT OF




                                                                                                                                                                        UNLIQUIDATED
                                                                              JOINT, OR




                                                                                                                                               CONTINGENT
                                                     CODEBTOR




       MAILING ADDRESS                                                                                       INCURRED AND                                                                                                       CLAIM




                                                                                                                                                                                                   DISPUTED
     INCLUDING ZIP CODE,                                                                                  CONSIDERATION FOR
    AND ACCOUNT NUMBER                                                                                           CLAIM.
          (See   instructions above.)                                                                    IF CLAIM IS SUBJECT TO
                                                                                                            SETOFF, SO STATE.

ACCOUNT NO.
                                         —————————

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            0516
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                                                                                                  CollectionAttorney
Afni                                                                                                                                                                                                                               $160.00
Po Box 3097
Bloomington, IL 61702

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ACCOUNT NO.
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            8658
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                                                                                                  CollectionAttorney
Atg Credit                                                                                                                                                                                                                         $250.00
1700 W Cortland St Ste 2
Chicago, IL 60622

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ACCOUNT NO.
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            9697
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                                                                                                  CreditCard
Bank Of America                                                                                                                                                                                                                  $8,791.00
Po Box 982235
El Paso , TX 79998

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                                                                                                                                                                            Subtotal'                                     $       9,201.00
    4
  _____continuation sheets attached                                                                                                                Total'                                                                 $
                                                                                                     (Use only on last page of the completed Schedule F.)
                                                                                 (Report also on Summary of Schedules and, if applicable, on the Statistical
                                                                                                       Summary of Certain Liabilities and Related Data.)
B 6F (Official FormCase     14-37373
                   6F) (12/07) - Cont.       Doc 1                               Filed 10/15/14 Entered 10/15/14 14:18:11                                                                                 Desc Main
                                                                                  Document     Page 19 of 43
      Refugio Rodriguez
In re __________________________________________,                                                                             Case No. _________________________________
                      Debtor                                                                                                                    (if known)


       SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                      (Continuation Sheet)




                                                                                 HUSBAND, WIFE,




                                                                                                                                                                            UNLIQUIDATED
                                                                                  COMMUNITY
                                                                                                                 DATE CLAIM WAS




                                                                                                                                                   CONTINGENT
            CREDITOR’S NAME,



                                                          CODEBTOR


                                                                                   JOINT, OR




                                                                                                                                                                                                       DISPUTED
                                                                                                                  INCURRED AND
             MAILING ADDRESS
                                                                                                               CONSIDERATION FOR                                                                                                  AMOUNT OF
           INCLUDING ZIP CODE,
                                                                                                                      CLAIM.                                                                                                        CLAIM
          AND ACCOUNT NUMBER
               (See   instructions above.)                                                                    IF CLAIM IS SUBJECT TO
                                                                                                                 SETOFF, SO STATE.

      ACCOUNT NO.
                                              —————————

                                                                     —————————




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                  4262
      ————————————————
                                                                                                      CreditCard
      Cap One                                                                                                                                                                                                                           $0.00
      Po Box 30253
      Salt Lake City , UT 84130

      ———————————————————————————————————————————————————

      ACCOUNT NO.
                                              —————————

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                  0264
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                                                                                                      CreditCard
      Cap One                                                                                                                                                                                                                           $0.00
      Po Box 5253
      Carol Stream , IL 60197

      ———————————————————————————————————————————————————

      ACCOUNT NO.
                                              —————————

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                                                                                                                                                                                                                  —————————
                  JA26
      ————————————————
                                                                                                      medical unpaid balance
      Carecentrix                                                                                                                                                                                                                     $505.98
      P O Box 277947
      Atlanta, GA 30384

      ———————————————————————————————————————————————————

      ACCOUNT NO.
                                              —————————

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                  7205
      ————————————————
                                                                                                      Medical Services
      CareCentrix                                                                                                                                                                                                                     $225.00
      P O Box 277947
      Atlanta, GA 30384

      ———————————————————————————————————————————————————


        Sheet no. 1 of 4 continuation sheets attached                                                                                                                             Subtotal'                                   $        730.98
        to Schedule of Creditors Holding Unsecured
        Nonpriority Claims

                                                                                                                                                       Total'                                                                 $
                                                                                                         (Use only on last page of the completed Schedule F.)
                                                                                      (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                            Summary of Certain Liabilities and Related Data.)
B 6F (Official FormCase     14-37373
                   6F) (12/07) - Cont.       Doc 1                               Filed 10/15/14 Entered 10/15/14 14:18:11                                                                                 Desc Main
                                                                                  Document     Page 20 of 43
      Refugio Rodriguez
In re __________________________________________,                                                                             Case No. _________________________________
                      Debtor                                                                                                                    (if known)


       SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                      (Continuation Sheet)




                                                                                 HUSBAND, WIFE,




                                                                                                                                                                            UNLIQUIDATED
                                                                                  COMMUNITY
                                                                                                                 DATE CLAIM WAS




                                                                                                                                                   CONTINGENT
            CREDITOR’S NAME,



                                                          CODEBTOR


                                                                                   JOINT, OR




                                                                                                                                                                                                       DISPUTED
                                                                                                                  INCURRED AND
             MAILING ADDRESS
                                                                                                               CONSIDERATION FOR                                                                                                  AMOUNT OF
           INCLUDING ZIP CODE,
                                                                                                                      CLAIM.                                                                                                        CLAIM
          AND ACCOUNT NUMBER
               (See   instructions above.)                                                                    IF CLAIM IS SUBJECT TO
                                                                                                                 SETOFF, SO STATE.

      ACCOUNT NO.
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                  6775
      ————————————————
                                                                                                      ChargeAccount
      Citibank Usa                                                                                                                                                                                                                      $0.00
      Po Box 6497
      Sioux Falls , SD 57117

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      ACCOUNT NO.
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                                                                                                                                                                                                                  —————————
                  9046
      ————————————————
                                                                                                      ChargeAccount
      Comenity Bank/New York &
      Company                                                                                                                                                                                                                           $0.00
      220 W Schrock Rd
      Westerville, OH 43081
      ———————————————————————————————————————————————————

      ACCOUNT NO.
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                                                                                                                                                                                                                  —————————
                  4699
      ————————————————
                                                                                                      ChargeAccount
      Comenity Bank/Value City
      Furniture                                                                                                                                                                                                                      $1,586.00
      Po Box 182789
      Columbus, OH 43218
      ———————————————————————————————————————————————————

      ACCOUNT NO.
                                              —————————

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                  4354
      ————————————————
                                                                                                      Automobile
      GMAC                                                                                                                                                                                                                              $0.00
      15303 S 94th Ave
      Orland Park , IL 60462

      ———————————————————————————————————————————————————


        Sheet no. 2 of 4 continuation sheets attached                                                                                                                             Subtotal'                                   $       1,586.00
        to Schedule of Creditors Holding Unsecured
        Nonpriority Claims

                                                                                                                                                       Total'                                                                 $
                                                                                                         (Use only on last page of the completed Schedule F.)
                                                                                      (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                            Summary of Certain Liabilities and Related Data.)
B 6F (Official FormCase     14-37373
                   6F) (12/07) - Cont.       Doc 1                               Filed 10/15/14 Entered 10/15/14 14:18:11                                                                                 Desc Main
                                                                                  Document     Page 21 of 43
      Refugio Rodriguez
In re __________________________________________,                                                                             Case No. _________________________________
                      Debtor                                                                                                                    (if known)


       SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                      (Continuation Sheet)




                                                                                 HUSBAND, WIFE,




                                                                                                                                                                            UNLIQUIDATED
                                                                                  COMMUNITY
                                                                                                                 DATE CLAIM WAS




                                                                                                                                                   CONTINGENT
            CREDITOR’S NAME,



                                                          CODEBTOR


                                                                                   JOINT, OR




                                                                                                                                                                                                       DISPUTED
                                                                                                                  INCURRED AND
             MAILING ADDRESS
                                                                                                               CONSIDERATION FOR                                                                                                  AMOUNT OF
           INCLUDING ZIP CODE,
                                                                                                                      CLAIM.                                                                                                        CLAIM
          AND ACCOUNT NUMBER
               (See   instructions above.)                                                                    IF CLAIM IS SUBJECT TO
                                                                                                                 SETOFF, SO STATE.

      ACCOUNT NO.
                                              —————————

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                                                                                                                                                                                                                  —————————
                  6718
      ————————————————
                                                                                                      Medical Services
      NCO Financial Systems                                                                                                                                                                                                            $28.32
      P O Box 15609
      Wilmington, DE 19850

      ———————————————————————————————————————————————————

      ACCOUNT NO.
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                                                                                                                                                                                                                  —————————
                  5252
      ————————————————
                                                                                                      unpaid balance
      NCO Financial Systems                                                                                                                                                                                                            $60.14
      P O Box 15609
      Wilmington, DE 19850

      ———————————————————————————————————————————————————

      ACCOUNT NO.
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                                                                                                                                                                                                                  —————————
                  6313
      ————————————————
                                                                                                      unpaid balance
      Oakcrest Lab
      10522 South Cicero                                                                                                                                                                                                              $298.08
      Suite 307
      Oaklawn, IL 60453
      ———————————————————————————————————————————————————

      ACCOUNT NO.
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                  8670
      ————————————————
                                                                                                      ChargeAccount
      Sears/cbna                                                                                                                                                                                                                        $0.00
      Po Box 6282
      Sioux Falls , SD 57117

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        Sheet no. 3 of 4 continuation sheets attached                                                                                                                             Subtotal'                                   $        386.54
        to Schedule of Creditors Holding Unsecured
        Nonpriority Claims

                                                                                                                                                       Total'                                                                 $
                                                                                                         (Use only on last page of the completed Schedule F.)
                                                                                      (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                            Summary of Certain Liabilities and Related Data.)
B 6F (Official FormCase     14-37373
                   6F) (12/07) - Cont.       Doc 1                               Filed 10/15/14 Entered 10/15/14 14:18:11                                                                                 Desc Main
                                                                                  Document     Page 22 of 43
      Refugio Rodriguez
In re __________________________________________,                                                                             Case No. _________________________________
                      Debtor                                                                                                                    (if known)


       SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                      (Continuation Sheet)




                                                                                 HUSBAND, WIFE,




                                                                                                                                                                            UNLIQUIDATED
                                                                                  COMMUNITY
                                                                                                                 DATE CLAIM WAS




                                                                                                                                                   CONTINGENT
            CREDITOR’S NAME,



                                                          CODEBTOR


                                                                                   JOINT, OR




                                                                                                                                                                                                       DISPUTED
                                                                                                                  INCURRED AND
             MAILING ADDRESS
                                                                                                               CONSIDERATION FOR                                                                                                  AMOUNT OF
           INCLUDING ZIP CODE,
                                                                                                                      CLAIM.                                                                                                        CLAIM
          AND ACCOUNT NUMBER
               (See   instructions above.)                                                                    IF CLAIM IS SUBJECT TO
                                                                                                                 SETOFF, SO STATE.

      ACCOUNT NO.
                                              —————————

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                  5938
      ————————————————
                                                                                                      CreditCard
      Sears/cbna                                                                                                                                                                                                                        $0.00
      Po Box 6282
      Sioux Falls , SD 57117

      ———————————————————————————————————————————————————




        Sheet no. 4 of 4 continuation sheets attached                                                                                                                             Subtotal'                                   $          0.00
        to Schedule of Creditors Holding Unsecured
        Nonpriority Claims

                                                                                                                                                       Total'                                                                 $      11,904.52
                                                                                                         (Use only on last page of the completed Schedule F.)
                                                                                      (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                            Summary of Certain Liabilities and Related Data.)
Case 14-37373             Doc 1        Filed 10/15/14 Entered 10/15/14 14:18:11                                 Desc Main
                                        Document     Page 23 of 43
B 6G (Official Form 6G) (12/07)

In re Refugio Rodriguez,                                                       Case No.
                                                Debtor                                             (if known)

SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
      Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any
timeshare interests. State nature of debtor’s interest in contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is
the lessor or lessee of a lease. Provide the names and complete mailing addresses of all other parties to each lease or
contract described. If a minor child is a party to one of the leases or contracts, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the
child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

 Check this box if debtor has no executory contracts or unexpired leases.


                                                                  DESCRIPTION OF CONTRACT OR LEASE AND
      NAME AND MAILING ADDRESS,                                    NATURE OF DEBTOR’S INTEREST. STATE
          INCLUDING ZIP CODE,                                     WHETHER LEASE IS FOR NONRESIDENTIAL
OF OTHER PARTIES TO LEASE OR CONTRACT.                               REAL PROPERTY. STATE CONTRACT
                                                                  NUMBER OF ANY GOVERNMENT CONTRACT.
          Case 14-37373              Doc 1        Filed 10/15/14 Entered 10/15/14 14:18:11                             Desc Main
                                                   Document     Page 24 of 43
B 6H (Official Form 6H) (12/07)

In re Refugio Rodriguez,                                                               Case No.
                                                         Debtor                                                   (if known)


                                               SCHEDULE H - CODEBTORS
      Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts
listed by the debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community
property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico,
Texas, Washington, or Wisconsin) within the eight-year period immediately preceding the commencement of the case, identify the name of
the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state, commonwealth, or
territory. Include all names used by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a
minor child is a codebtor or a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a
minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

 Check this box if debtor has no codebtors.


            NAME AND ADDRESS OF CODEBTOR                                               NAME AND ADDRESS OF CREDITOR
                  Case 14-37373            Doc 1          Filed 10/15/14 Entered 10/15/14 14:18:11                         Desc Main
                                                           Document     Page 25 of 43
 Fill in this information to identify your case:


 Debtor 1            Refugio Rodriguez
                    ___________________________________________________________________
                     First Name             Middle Name            Last Name

 Debtor 2            __________________________________________________________________
 (Spouse, if filing) First Name             Middle Name            Last Name


                                      Northern District of Illinois
 United States Bankruptcy Court for : ______________________        _

 Case number         ___________________________________________                                   Check if this is:
  (If known)
                                                                                                    An amended filing
                                                                                                    A supplement showing post-petition
                                                                                                       chapter 13 income as of the following date:
Official Form B 6I
                                                                                                       ________________
                                                                                                       MM / DD / YYYY


Schedule I: Your Income                                                                                                                           12/13

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:           Describe Employment


1. Fill in your employment
    information.                                                         Debtor 1                                  Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with
    information about additional         Employment status            
                                                                      X
                                                                        Employed                                       Employed
    employers.                                                         Not employed                               
                                                                                                                   X
                                                                                                                        Not employed
    Include part-time, seasonal, or
    self-employed work.
                                         Occupation                 Driver
                                                                    __________________________________           __________________________________
    Occupation may Include student
    or homemaker, if it applies.
                                         Employer’s name            Estes Express Lines
                                                                    __________________________________           __________________________________


                                         Employer’s address         3901 West Broad St
                                                                   _______________________________________     ________________________________________
                                                                     Number Street                              Number    Street

                                                                   _______________________________________     ________________________________________

                                                                   _______________________________________     ________________________________________

                                                                    Richmond, VA 23230
                                                                   _______________________________________     ________________________________________
                                                                    City            State  ZIP Code              City                State ZIP Code

                                         How long employed there?         _______
                                                                          6 years                                 _______

 Part 2:           Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                              For Debtor 1        For Debtor 2 or
                                                                                                                  non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.       2.     5,174.00               0
                                                                                             $___________           $____________

 3. Estimate and list monthly overtime pay.                                            3.      0.00
                                                                                            + $___________          0
                                                                                                                 + $____________

 4. Calculate gross income. Add line 2 + line 3.                                       4.     5,174.00
                                                                                             $__________             0.00
                                                                                                                    $____________



Official Form B 6I                                             Schedule I: Your Income                                                        page 1
                 Case 14-37373                        Doc 1            Filed 10/15/14 Entered 10/15/14 14:18:11                                        Desc Main
                                                                        Document     Page 26 of 43
Debtor 1         Refugio Rodriguez
                 _______________________________________________________                                                  Case number (if known)_____________________________________
                 First Name         Middle Name               Last Name



                                                                                                                         For Debtor 1         For Debtor 2 or
                                                                                                                                              non-filing spouse

   Copy line 4 here ............................................................................................  4.      5,174.00
                                                                                                                          $___________           0.00
                                                                                                                                                $_____________

5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                           5a.      1,374.75
                                                                                                                         $____________           0
                                                                                                                                                $_____________
     5b. Mandatory contributions for retirement plans                                                            5b.      0.00
                                                                                                                         $____________           0
                                                                                                                                                $_____________
     5c. Voluntary contributions for retirement plans                                                            5c.      0.00
                                                                                                                         $____________           0
                                                                                                                                                $_____________
     5d. Required repayments of retirement fund loans                                                            5d.      0.00
                                                                                                                         $____________           0
                                                                                                                                                $_____________
     5e. Insurance                                                                                               5e.      0.00
                                                                                                                         $____________           0
                                                                                                                                                $_____________
     5f. Domestic support obligations                                                                            5f.      0.00
                                                                                                                         $____________           0
                                                                                                                                                $_____________

     5g. Union dues                                                                                              5g.
                                                                                                                          0.00
                                                                                                                         $____________           0
                                                                                                                                                $_____________
                                    0
     5h. Other deductions. Specify: __________________________________                                           5h.       0.00
                                                                                                                        + $____________          0
                                                                                                                                              + $_____________
 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g +5h.                                    6.      1,374.75
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________

 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                           7.      3,799.25
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                              0.00                   0.00
                                                                                                                         $____________          $_____________
           monthly net income.                                                                                   8a.
     8b. Interest and dividends                                                                                  8b.      0.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                          0.00                   0.00
                                                                                                                         $____________          $_____________
           settlement, and property settlement.                                                                  8c.
     8d. Unemployment compensation                                                                               8d.      0.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________
     8e. Social Security                                                                                         8e.      0.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental                                          $____________          $_____________
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.

     8g. Pension or retirement income                                                                            8g.      0.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________

     8h. Other monthly income. Specify: _______________________________                                          8h.    + $____________       + $_____________
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                         9.      0.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________

10. Calculate monthly income. Add line 7 + line 9.
                                                                                                                          3,799.25
                                                                                                                         $___________     +      0.00
                                                                                                                                                $_____________    3,799.25
                                                                                                                                                               = $_____________
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                    10.

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                           0.00
                                                                                                                                                                11. + $_____________

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies                                12.
                                                                                                                                                                       3,799.25
                                                                                                                                                                      $_____________
                                                                                                                                                                      Combined
                                                                                                                                                                      monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
     
     X
           No.
          Yes. Explain:


Official Form B 6I                                                                 Schedule I: Your Income                                                                page 2
                   Case 14-37373              Doc 1         Filed 10/15/14 Entered 10/15/14 14:18:11                             Desc Main
                                                             Document     Page 27 of 43
  Fill in this information to identify your case:

  Debtor 1          Refugio Rodriguez
                    __________________________________________________________________
                      First Name              Middle Name             Last Name                       Check if this is:
  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name              Middle Name             Last Name
                                                                                                       An amended filing
                                       Northern District of Illinois
                                                                                                       A supplement showing post-petition chapter 13
  United States Bankruptcy Court for : ______________________        _                                    expenses as of the following date:
                                                                                                          ________________
  Case number         ___________________________________________                                         MM / DD / YYYY
  (If known)
                                                                                                       A separate filing for Debtor 2 because Debtor 2
                                                                                                          maintains a separate household
Official Form B 6J
Schedule J: Your Expenses                                                                                                                            12/13

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:            Describe Your Household

1. Is this a joint case?

   
   X
        No. Go to line 2.
       Yes. Does Debtor 2 live in a separate household?

               
               X
                     No
                    Yes. Debtor 2 must file a separate Schedule J.

2. Do you have dependents?                     No                                 Dependent’s relationship to              Dependent’s   Does dependent live
   Do not list Debtor 1 and                 
                                            X
                                                Yes. Fill out this information for Debtor 1 or Debtor 2                     age           with you?
   Debtor 2.                                    each dependent..........................
   Do not state the dependents’                                                    Daughter                                 16                No
                                                                                   _________________________                ________
   names.                                                                                                                                 
                                                                                                                                          X
                                                                                                                                               Yes

                                                                                   _________________________                ________          No
                                                                                                                                              Yes

                                                                                   _________________________                ________          No
                                                                                                                                              Yes

                                                                                   _________________________                ________          No
                                                                                                                                              Yes

                                                                                   _________________________                ________          No
                                                                                                                                              Yes

3. Do your expenses include
   expenses of people other than
                                               No
   yourself and your dependents?               Yes

Part 2:         Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value
of such assistance and have included it on Schedule I: Your Income (Official Form B 6I.)                                       Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                               1,186.79
                                                                                                                              $_____________________
     any rent for the ground or lot.                                                                                  4.

     If not included in line 4:
     4a.    Real estate taxes                                                                                         4a.      300.00
                                                                                                                              $_____________________
     4b.    Property, homeowner’s, or renter’s insurance                                                              4b.      120.00
                                                                                                                              $_____________________
     4c.    Home maintenance, repair, and upkeep expenses                                                             4c.      100.00
                                                                                                                              $_____________________
     4d.    Homeowner’s association or condominium dues                                                               4d.      0.00
                                                                                                                              $_____________________

Official Form B 6J                                            Schedule J: Your Expenses                                                          page 1
                 Case 14-37373                Doc 1        Filed 10/15/14 Entered 10/15/14 14:18:11                     Desc Main
                                                            Document     Page 28 of 43
 Debtor 1        Refugio Rodriguez
                 _______________________________________________________                   Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




                                                                                                                      Your expenses

                                                                                                                      0.00
                                                                                                                     $_____________________
 5. Additional mortgage payments for your residence, such as home equity loans                                5.


 6. Utilities:

      6a.   Electricity, heat, natural gas                                                                    6a.     375.00
                                                                                                                     $_____________________
      6b.   Water, sewer, garbage collection                                                                  6b.     80.00
                                                                                                                     $_____________________
      6c.   Telephone, cell phone, Internet, satellite, and cable services                                    6c.     240.00
                                                                                                                     $_____________________
      6d.   Other. Specify: _______________________________________________                                   6d.     0.00
                                                                                                                     $_____________________

 7. Food and housekeeping supplies                                                                            7.      600.00
                                                                                                                     $_____________________

 8. Childcare and children’s education costs                                                                  8.      0.00
                                                                                                                     $_____________________
 9. Clothing, laundry, and dry cleaning                                                                       9.      100.00
                                                                                                                     $_____________________
10.   Personal care products and services                                                                     10.     100.00
                                                                                                                     $_____________________
11.   Medical and dental expenses                                                                             11.     200.00
                                                                                                                     $_____________________

12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                      275.00
                                                                                                                     $_____________________
      Do not include car payments.                                                                            12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.     100.00
                                                                                                                     $_____________________
14.   Charitable contributions and religious donations                                                        14.     50.00
                                                                                                                     $_____________________
                                                                                                                                                    1
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                     15a.    85.00
                                                                                                                     $_____________________
      15b. Health insurance                                                                                   15b.    0.00
                                                                                                                     $_____________________
      15c. Vehicle insurance                                                                                  15c.    101.00
                                                                                                                     $_____________________
      15d. Other insurance. Specify:_______________________________________                                   15d.    0.00
                                                                                                                     $_____________________

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                      0.00
                                                                                                                     $_____________________
      Specify: ________________________________________________________                                       16.

17.   Installment or lease payments:

      17a. Car payments for Vehicle 1                                                                         17a.    0.00
                                                                                                                     $_____________________

      17b. Car payments for Vehicle 2                                                                         17b.    0.00
                                                                                                                     $_____________________

      17c. Other. Specify:_______________________________________________                                     17c.   $_____________________

      17d. Other. Specify:_______________________________________________                                     17d.   $_____________________

18.    Your payments of alimony, maintenance, and support that you did not report as deducted                         0.00
      from your pay on line 5, Schedule I, Your Income (Official Form B 6I).                                   18.   $_____________________


19.   Other payments you make to support others who do not live with you.
              0
      Specify:_______________________________________________________                                          19.    0.00
                                                                                                                     $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                        20a.    0.00
                                                                                                                     $_____________________

      20b. Real estate taxes                                                                                  20b.    0.00
                                                                                                                     $_____________________

      20c. Property, homeowner’s, or renter’s insurance                                                       20c.    0.00
                                                                                                                     $_____________________

      20d. Maintenance, repair, and upkeep expenses                                                           20d.    0.00
                                                                                                                     $_____________________

      20e. Homeowner’s association or condominium dues                                                        20e.    0.00
                                                                                                                     $_____________________



 Official Form B 6J                                            Schedule J: Your Expenses                                                   page 2
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 Debtor 1        Refugio Rodriguez
                 _______________________________________________________                      Case number (if known)_____________________________________
                 First Name    Middle Name        Last Name




21.                    See Attachment 1
       Other. Specify: _________________________________________________                                         21.     1,400.00
                                                                                                                       +$_____________________

22.    Your monthly expenses. Add lines 4 through 21.
                                                                                                                         5,412.79
                                                                                                                        $_____________________
       The result is your monthly expenses.                                                                      22.




23. Calculate your monthly net income.
                                                                                                                          3,799.25
                                                                                                                         $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                       23a.

      23b.   Copy your monthly expenses from line 22 above.                                                     23b.      5,412.79
                                                                                                                       – $_____________________
      23c.   Subtract your monthly expenses from your monthly income.
                                                                                                                          -1,613.54
                                                                                                                         $_____________________
             The result is your monthly net income.                                                             23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      
      X
          No.
         Yes.     Explain here:




 Official Form B 6J                                           Schedule J: Your Expenses                                                       page 3
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                                      Addendum

Attachment 1
    Description: grooming
    Amount: 50.00

    Description: special need for disable daughter
    Amount: 600.00

    Description: wife card payments
    Amount: 350.00

    Description: food on the road
    Amount: 400.00

    Description: `
    Amount:
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B6 Declaration (Official Form 6 - Declaration) (12/07)       Doc 1              Filed 10/15/14 Entered 10/15/14 14:18:11                                                                Desc Main
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      In re
              Refugio Rodriguez
              _________________________________________                                                                  ,                Case No. ______________________________
                            Debtor                                                                                                                             (if known)




                              DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


                                                                                                            24 sheets, and that they are true and correct to the best of
    I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of _____
my knowledge, information, and belief.


     October 14, 2014
Date __________________________________                                                                                        s/Refugio Rodriguez
                                                                                                                    Signature: ________________________________________________
                                                                                                                                                 Refugio Rodriguez Debtor

Date __________________________________                                                                             Signature: ________________________________________________
                                                                                                                                                                                            (Joint Debtor, if any)

                                                                                                                          [If joint case, both spouses must sign.]

                                   -------------------------------------------------------------------------------------------------------------------------------------------
                             DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

  I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and have provided
the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h) and 342(b); and, (3) if rules or guidelines have been
promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by bankruptcy petition preparers, I have given the debtor notice of the maximum
amount before preparing any document for filing for a debtor or accepting any fee from the debtor, as required by that section.

_____________________________________________________                                             _____________________________
Printed or Typed Name and Title, if any,                                                          Social Security No.
of Bankruptcy Petition Preparer                                                                   (Required by 11 U.S.C. § 110.)

If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or partner
who signs this document.
_________________________________
_________________________________
_________________________________
Address

X _____________________________________________________                                                                         ____________________
 Signature of Bankruptcy Petition Preparer                                                                                      Date


Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer is not an individual:

If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.


A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or both. 11 U.S.C. § 110;
18 U.S.C. § 156.
   --------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------

                     DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORATION OR PARTNERSHIP


    I, the __________________________________ [the president or other officer or an authorized agent of the corporation or a member or an authorized agent of the
partnership ] of the ___________________________________ [corporation or partnership] named as debtor in this case, declare under penalty of perjury that I have
read the foregoing summary and schedules, consisting of _____ sheets (Total shown on summary page plus 1), and that they are true and correct to the best of my
knowledge, information, and belief.


Date ______________________________________
                                                                                                        Signature: _____________________________________________________________

                                                                                                                       ____________________________________________________________
                                                                                                                         [Print or type name of individual signing on behalf of debtor.]

[An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
 ----------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
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                          UNITED STATES BANKRUPTCY COURT
                                            NORTHERN DISTRICT OF ILLINOIS
                                                 EASTERN DIVISION

In re: Refugio Rodriguez                                                Case No
                                Debtor                                                              (if known)



                                         STATEMENT OF FINANCIAL AFFAIRS
           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which
the information for both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish
information for both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
filed. An individual debtor engaged in business as a sole proprietor, partner, family farmer, or self-employed professional, should
provide the information requested on this statement concerning all such activities as well as the individual's personal affairs. To
indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the child's parent
or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and
Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also
must complete Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If
additional space is needed for the answer to any question, use and attach a separate sheet properly identified with the case name,
case number (if known), and the number of the question.

                                                             DEFINITIONS

           "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An
individual debtor is "in business" for the purpose of this form if the debtor is or has been, within six years immediately preceding
the filing of this bankruptcy case, any of the following: an officer, director, managing executive, or owner of 5 percent or more of
the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole proprietor or self-
employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this form if the debtor engages
in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary employment.

"Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their
relatives; corporations of which the debtor is an officer, director, or person in control; officers, directors, and any persons in
control of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the
debtor. 11 U.S.C. § 101.

        1. Income from employment or operation of business
None        State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of
           the debtor's business, including part-time activities either as an employee or in independent trade or business, from the
            beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the
            two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on
            the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates
            of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
            under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the
            spouses are separated and a joint petition is not filed.)

                            AMOUNT                                          SOURCE

            Debtor:
                         Current Year (2014):
                         $37,000.00                                       employment


                         Previous Year 1 (2013):
                         $59,000.00                                       employment
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                   Previous Year 2 (2012):
                   $58,000.00                                           employment

         Joint Debtor:
                   N/A


         2. Income other than from employment or operation of business

None     State the amount of income received by the debtor other than from employment, trade, profession, operation of the
        debtor's business during the two years immediately preceding the commencement of this case. Give particulars. If a
         joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13
         must state income for each spouse whether or not a joint petition is filed, unless the spouses are separated and a joint
         petition is not filed.)

                         AMOUNT                                             SOURCE




         3. Payments to creditors

         Complete a. or b., as appropriate, and c.

None     a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of
        goods or services, and other debts to any creditor made within 90 days immediately preceding the commencement of
         this case unless the aggregate value of all property that constitutes or is affected by such transfer is less than $600.
         Indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation or
         as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling
         agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses
         whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

         NAME AND ADDRESS OF CREDITOR                               DATES OF               AMOUNT                  AMOUNT
                                                                    PAYMENTS               PAID                    STILL OWING


         Debtor:

None     b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made
        within 90 days immediately preceding the commencement of the case unless the aggregate value of all property that
         constitutes or is affected by such transfer is less than $6,225*. If the debtor is an individual, indicate with an asterisk (*)
         any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative
         repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors
         filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or
         not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

         NAME AND ADDRESS OF CREDITOR                                DATES OF               AMOUNT                 AMOUNT
                                                                     PAYMENTS/              PAID OR                STILL
                                                                     TRANSFERS              VALUE OF               OWING
                                                                                            TRANSFERS




None     c. All debtors: List all payments made within one year immediately preceding the commencement of this case
        to or for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must

* Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date
of adjustment.
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       include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and
       a joint petition is not filed.)

       NAME AND ADDRESS OF CREDITOR                                DATE OF                AMOUNT                AMOUNT
       AND RELATIONSHIP TO DEBTOR                                  PAYMENT                PAID                  STILL OWING




       4. Suits and administrative proceedings, executions, garnishments and attachments

None   a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately
      preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include
       information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated
       and a joint petition is not filed.)separated and a joint petition is not filed.)

       CAPTION OF SUIT                              NATURE OF                  COURT OR                   STATUS OR
       AND CASE NUMBER                              PROCEEDING                 AGENCY AND                 DISPOSITION
                                                                               LOCATION




None   b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one
      year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13
       must include information concerning property of either or both spouses whether or not a joint petition is filed, unless
       the spouses are separated and a joint petition is not filed.)

       NAME AND ADDRESS                                                                   DESCRIPTION
       OF PERSON FOR WHOSE                                         DATE OF                AND VALUE
       BENEFIT PROPERTY WAS SEIZED                                 SEIZURE                OF PROPERTY




       5. Repossessions, foreclosures and returns

None   List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu
      of foreclosure or returned to the seller, within one year immediately preceding the commencement of this case.
       (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
       spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                  DATE OF REPOSSESSION,                     DESCRIPTION
       NAME AND ADDRESS                           FORECLOSURE SALE,                         AND VALUE
       OF CREDITOR OR SELLER                      TRANSFER OR RETURN                        OF PROPERTY




       6. Assignments and receiverships

None   a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the
      commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by
       either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
       filed.)

                                                                                          TERMS OF
       NAME AND ADDRESS                                            DATE OF                ASSIGNMENT
       OF ASSIGNEE                                                 ASSIGNMENT             OR SETTLEMENT
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None   b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year
      immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
       spouses are separated and a joint petition is not filed.)

                                          NAME AND LOCATION                                    DESCRIPTION
       NAME AND ADDRESS                   OF COURT                           DATE OF           AND VALUE
       OF CUSTODIAN                       CASE TITLE & NUMBER                ORDER             OF PROPERTY




       7. Gifts

None   List all gifts or charitable contributions made within one year immediately preceding the commencement of this case
      except ordinary and usual gifts to family members aggregating less than $200 in value per individual family member
       and charitable contributions aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or
       chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed, unless
       the spouses are separated and a joint petition is not filed.)

       NAME AND ADDRESS                  RELATIONSHIP                                          DESCRIPTION
       OF PERSON                         TO DEBTOR,                         DATE               AND VALUE
       OR ORGANIZATION                   IF ANY                             OF GIFT            OF GIFT




       8. Losses

None   List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement
      of this case or since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include losses by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)

       DESCRIPTION                     DESCRIPTION OF CIRCUMSTANCES AND, IF
       AND VALUE OF                    LOSS WAS COVERED IN WHOLE OR IN PART                            DATE
       PROPERTY                        BY INSURANCE, GIVE PARTICULARS                                  OF LOSS




       9. Payments related to debt counseling or bankruptcy

None   List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for
      consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy
       within one year immediately preceding the commencement of this case.

                                                DATE OF PAYMENT,                          AMOUNT OF MONEY OR
       NAME AND ADDRESS                         NAME OF PAYER IF                          DESCRIPTION AND
       OF PAYEE                                 OTHER THAN DEBTOR                         VALUE OF PROPERTY

       Debtor:
       Law Offices Of Manuel A. Cardenas        10/01/14                                 $1,400.00
       and Associates
       2057 North Western Avenue
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       Chicago, IL 60647




       10. Other transfers

None   a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of
      the debtor, transferred either absolutely or as security within two years immediately preceding the commencement of
       this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both spouses
       whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                              DESCRIBE PROPERTY
       NAME AND ADDRESS OF TRANSFEREE,                                                        TRANSFERRED AND
       RELATIONSHIP TO DEBTOR                                          DATE                   VALUE RECEIVED




None   b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case
      to a self-settled trust or similar device of which the debtor is a beneficiary.

                                                          DATE(S) OF           AMOUNT OF MONEY OR DESCRIPTION
       NAME OF TRUST OR OTHER                             TRANSFER(S)          AND VALUE OF PROPERTY OR DEBTOR’S
       DEVICE                                                                  INTEREST IN PROPERTY




       11. Closed financial accounts

None   List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were
      closed, sold, or otherwise transferred within one year immediately preceding the commencement of this case. Include
       checking, savings, or other financial accounts, certificates of deposit, or other instruments; shares and share accounts
       held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial
       institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning accounts or
       instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated
       and a joint petition is not filed.)

                                                                  TYPE OF ACCOUNT, LAST FOUR                   AMOUNT AND
       NAME AND ADDRESS                                           DIGITS OF ACCOUNT NUMBER,                    DATE OF SALE
       OF INSTITUTION                                             AND AMOUNT OF FINAL                          OR CLOSING
                                                                  BALANCE




       12. Safe deposit boxes

None   List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables
      within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
       chapter 13 must include boxes or depositories of either or both spouses whether or not a joint petition is filed, unless
       the spouses are separated and a joint petition is not filed.)

       NAME AND ADDRESS                     NAMES AND ADDRESSES               DESCRIPTION                  DATE OF
       OF BANK OR                           OF THOSE WITH ACCESS              OF                           TRANSFER
       OTHER DEPOSITORY                     TO BOX OR DEPOSITORY              CONTENTS                     OR SURRENDER,
                                                                                                           IF ANY
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       13. Setoffs

None   List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding
      the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information
       concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)

                                                                             DATE OF                       AMOUNT
       NAME AND ADDRESS OF CREDITOR                                          SETOFF                        OF SETOFF




       14. Property held for another person


None   List all property owned by another person that the debtor holds or controls.


       NAME AND ADDRESS                          DESCRIPTION AND
       OF OWNER                                  VALUE OF PROPERTY                        LOCATION OF PROPERTY




       15. Prior address of debtor

None   If debtor has moved within three years immediately preceding the commencement of this case, list all premises
      which the debtor occupied during that period and vacated prior to the commencement of this case. If a joint petition is
       filed, report also any separate address of either spouse.

       ADDRESS                                     NAME USED                               DATES OF OCCUPANCY




       16. Spouses and Former Spouses

None   If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
      California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years
       immediately preceding the commencement of the case, identify the name of the debtor’s spouse and of
       any former spouse who resides or resided with the debtor in the community property state.

       NAME




       17. Environmental Information.

       For the purpose of this question, the following definitions apply:

       "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination,
       releases of hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or
       other medium, including, but not limited to, statutes or regulations regulating the cleanup of these substances, wastes,
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       or material.

       Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or
       formerly owned or operated by the debtor, including, but not limited to, disposal sites. "

       "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous
       material, pollutant, or contaminant or similar term under an Environmental Law.

None   a. List the name and address of every site for which the debtor has received notice in writing by a governmental
      unit that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the
       governmental unit, the date of the notice, and, if known, the Environmental Law:

       SITE NAME                            NAME AND ADDRESS     DATE OF                                  ENVIRONMENTAL
       AND ADDRESS                          OF GOVERNMENTAL UNIT NOTICE                                   LAW




None   b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release
      of Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

       SITE NAME                           NAME AND ADDRESS     DATE OF                                   ENVIRONMENTAL
       AND ADDRESS                         OF GOVERNMENTAL UNIT NOTICE                                    LAW




None   c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with
      respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a
       party to the proceeding, and the docket number.

       NAME AND ADDRESS                                                                             STATUS OR
       OF GOVERNMENTAL UNIT                                           DOCKET NUMBER                 DISPOSITION




       18 . Nature, location and name of business

None   a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
      and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or managing
       executive of a corporation, partner in a partnership, sole proprietor, or was self-employed in a trade, profession, or
       other activity either full- or part-time within six years immediately preceding the commencement of this case, or in
       which the debtor owned 5 percent or more of the voting or equity securities within six years immediately preceding
       the commencement of this case.

             If the debtor is a partnership, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
             and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
             the voting or equity securities, within six years immediately preceding the commencement of this case.

             If the debtor is a corporation, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
             and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
             the voting or equity securities within six years immediately preceding the commencement of this case.


                           LAST FOUR DIGITS
                           OF SOCIAL-SECURITY                                                                   BEGINNING
                           OR OTHER INDIVIDUAL                                                                  AND
                           TAXPAYER-I.D. NO                                               NATURE OF             ENDING
       NAME                (ITIN)/ COMPLETE EIN             ADDRESS                       BUSINESS              DATES
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None      b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as
         defined in 11 U.S.C. § 101.

          NAME                                      ADDRESS




           The following questions are to be completed by every debtor that is a corporation or partnership and by any individual
debtor who is or has been, within six years immediately preceding the commencement of this case, any of the following: an
officer, director, managing executive, or owner of more than 5 percent of the voting or equity securities of a corporation; a
partner, other than a limited partner, of a partnership, a sole proprietor, or self-employed in a trade, profession, or other activity,
either full- or part-time.

           (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in
business, as defined above, within six years immediately preceding the commencement of this case. A debtor who has not been
in business within those six years should go directly to the signature page.)


          19. Books, records and financial statements

None      a. List all bookkeepers and accountants who within two years immediately preceding the filing of this
         bankruptcy case kept or supervised the keeping of books of account and records of the debtor.

          NAME AND ADDRESS                                                                       DATES SERVICES RENDERED




None      b. List all firms or individuals who within two years immediately preceding the filing of this bankruptcy
         case have audited the books of account and records, or prepared a financial statement of the debtor.

          NAME                                      ADDRESS                                      DATES SERVICES RENDERED




None      c. List all firms or individuals who at the time of the commencement of this case were in possession of the
         books of account and records of the debtor. If any of the books of account and records are not available, explain.

          NAME                                                 ADDRESS




None      d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a
         financial statement was issued by the debtor within two years immediately preceding the commencement of this case.

          NAME AND ADDRESS                                                                    DATE ISSUED




          20. Inventories
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None   a. List the dates of the last two inventories taken of your property, the name of the person who supervised the
      taking of each inventory, and the dollar amount and basis of each inventory.

                                                                                             DOLLAR AMOUNT
                                                                                             OF INVENTORY
                                                                                             (Specify cost, market or other
       DATE OF INVENTORY                         INVENTORY SUPERVISOR                        basis)




None   b. List the name and address of the person having possession of the records of each of the inventories reported
      in a., above.

                                                 NAME AND ADDRESSES
                                                 OF CUSTODIAN
       DATE OF INVENTORY                         OF INVENTORY RECORDS




       21. Current Partners, Officers, Directors and Shareholders

None   a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the
      partnership.

       NAME AND ADDRESS                            NATURE OF INTEREST                        PERCENTAGE OF INTEREST




None   b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who
      directly or indirectly owns, controls, or holds 5 percent or more of the voting or equity securities of the
       corporation.

                                                                                             NATURE AND PERCENTAGE
       NAME AND ADDRESS                            TITLE                                     OF STOCK OWNERSHIP




       22. Former partners, officers, directors and shareholders

None   a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately
      preceding the commencement of this case.

       NAME                                      ADDRESS                                     DATE OF WITHDRAWAL




None   b. If the debtor is a corporation, list all officers or directors whose relationship with the corporation terminated
      within one year immediately preceding the commencement of this case.

       NAME AND ADDRESS                                    TITLE                                   DATE OF TERMINATION
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       23 . Withdrawals from a partnership or distributions by a corporation

None   If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider,
      including compensation in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite
       during one year immediately preceding the commencement of this case.


       NAME & ADDRESS                                                                                        AMOUNT OF MONEY
       OF RECIPIENT,                                      DATE AND PURPOSE                                   OR DESCRIPTION
       RELATIONSHIP TO DEBTOR                             OF WITHDRAWAL                                      AND VALUE OF PROPERTY




       24. Tax Consolidation Group.

None   If the debtor is a corporation, list the name and federal taxpayer-identification number of the parent corporation of any
      consolidated group for tax purposes of which the debtor has been a member at any time within six years immediately
       preceding the commencement of the case.

       NAME OF PARENT CORPORATION                                                    TAXPAYER-IDENTIFICATION NUMBER (EIN)




       25. Pension Funds.

None   If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to
      which the debtor, as an employer, has been responsible for contributing at any time within six years immediately
       preceding the commencement of the case.

       NAME OF PENSION FUND                                                         TAXPAYER-IDENTIFICATION NUMBER (EIN)



                                                                    ******


       I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs
       and any attachments thereto and that they are true and correct.



                                                                                 Signature
       Date October 14, 2014                                                     of Debtor         s/Refugio Rodriguez

                                                                                 Signature of
                                                                                 Joint Debtor
       Date                                                                      (if any)

                                                           0 continuation sheets attached


          Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571
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                             Ë²·¬»¼ Í¬¿¬»- Þ¿²µ®«°¬½§ Ý±«®¬
                                              NORTHERN DISTRICT OF ILLINOIS
                                                         EASTERN DIVISION


×² ®»
          Refugio Rodriguez
                                                                                         Ý¿-» Ò±ò ÁÁÁÁÁÁÁÁÁÁÁ

Ü»¾¬±®                                                                                   Ý¸¿°¬»® ÁÁÁÁÁÁÁÁÁ
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      October 14, 2014
      ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ                                   s/Manuel. A Cardenas
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                   Ü¿¬»                                                     Manuel A. Cardenas
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                                                      Law Offices Of Manuel A. Cardenas and Associates
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